Case 5:19-cv-00001-DCB-MTP Document1 Filed 01/08/19 Page 1 of 12

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

for the
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District of ae . RRP |
Division JAN ~8 2019
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Case No | BY cern gree PUT A Gay | Oh wt?

A A, Z I /, fs p> (to be filled in by the Clerk's Office)
7. AYO a

Plaintiff(s)
(Write vail oak lame of each plaintiff who is filing this complaint.

If the names of all the plaintiffs cannot fit in the space above,
please write “see attached" in the space and attach an additional
page with the full list of names.)

-y-

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ec c Pack ments

Defendant(s)
(Write the full name of each deféndant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.) .

Jury Trial: (check one)

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COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

[_] No

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

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Street Address 12 \b Llecdon Lae yp 8G

City and County Dre- ihavien _, Lvl = yet

State and Zip Code AA S 37 Lol '

Telephone Number (Gert) 967-2173 Yr. ,) ere -5 a4?
E-mail Address AL, A C

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,

include the person's job or title (ifknown). Attach additional pages if needed.
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Ii.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What ee for federal court jurisdiction? (check all that apply)
Federal question [_] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutgs, federal treaties, and/or provisions of the ote State Hipp that
are at issue in this case. L, e _L- beh « an? Para us Ses ‘ph ae Ke SS }
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B. If the Basis for Jurisdiction Is Diversity of Citizenship

1. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (name) , is a citizen of the
State of (name)

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

under the laws of the State of (name) ‘ ’

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (name) . Oris acitizen of

(foreign nation)

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b. If the defendant is a corporation
The defendant, (ame) , is incorporated under
the laws of the State of (name) , and has its

principal place of business in the State of (name)

Or is incorporated under the laws of (foreign nation) ;

and has its principal place of business in (name)

(if more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of co » because (explain):

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Ii. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the

facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was

involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including

the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and

write a short and plain statement of each claim in a separateyparagraph., Attach additional pages ”. ne Xk
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IV Relief
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State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

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V.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my ‘knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing:

Printed Name of Plaintiff

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Street Address
State and Zip Code

Telephone Number
E-mail Address

Signature of Plaintiff 4. LL.

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Case 5:19-cv-00001-DCB-MTP Document1 Filed 01/08/19 Page 11 of 12

NITED STATES

AS MIFFLIN,
CLYMER,
> INGERSOLL,

Morris. ARTICLES IN ADDITION TO, AND AMENDMENT OF, THE

CONSTITUTION OF THE UNITED STATES OF AMERICA,
No Beorono, jun PROPOSED BY CONGRESS, AND RATIFIED BY THE LEGIS-
a> Basser. LATURES OF THE SEVERAL STATES PURSUANT TO THE

° FIFTH ARTICLE OF THE ORIGINAL CONSTITUTION
or ST Tos. JENIFER, ARTICLE [1]*

Congress shall make no law respecting an establishment of religion,

; Mapison Jr. or prehibiting the free exercise thereof; or abridging the free of
spesch, or of the press; or the right of the people peaceably to assemble,

4. a 0 petition the Governin redress Of grieva .

D Dosss Spaigut,

ARTICLE [ur]
3 :

A well regulated Militia, being necessary to the security of a free
wns Cotrswontn PINcKNey, State, the mht of the people to keep and bear Arms, shall not be
infringed.

. | ARTICLE [I11]
BALDWIN. No Soldier shall, in time of peace be quartered in any house, with-
LiaM Jackson, Secretary. : out the consent of the Owner, nor in time of war, but in a manner to
' be prescribed by law.

. ARTICLE [Iv]

‘ONSTITUTION . . .

The right.of the people to be secure in their persons, houses, papers,
convention of the States on and effects, against unreasonable searches and seizures, shall not be
ently ratified by the several violated, and no Warrants shall issue, but upon probable cause, sup-
‘e, December 7, 1787; Penn- ported by Oath or affirmation, and particularly describing the place
‘ersey, December 18, 1787; to be searched, and the persons or things to be seized. -

t, January 9, 1788; Massa-

pril 28, 1788; South Carolina, OK ARTICLE [v]

1788.
, 1788. No person shall be held to answer for a capital, or otherwise in-
atified by Virginia, June 25, famous crime, unless on a presentment or indictment of a Grand Jury,
th Carolina, November 21, . except in cases arising-in the land or naval forces, or in the Militia,

fermont, January 10, 1791., when in actual service in time of War or public danger; por shall any
of

|
person be subject for the same offence to be twice put iff jeopard
| 6 ; nor shall be compe Hy criminal case to be a witness

4 against himself, nor be deprived of life, hberty, or property, wit.
ue process 0. erty be taken for public u
Without just compensapion.

ARTICLE [v1]

In all criminal prosecutions, the accused shall enjoy the right to 4
speedy and public trial, by an impartial jury of the State and district
wherein the crime shall have been committed, which district shall
“Only the 13th, 14th, 15th, and 16th articles of amendment had numbers assigned to them st the time of
ratification.

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14 CONSTITUTION OF THE UNITED STATES

victed, shall exist within the United States, or any place subject to
their jurisdiction.

Section 2. Congress shall have power to enforce this article by
appropriate legislation.

The 13th amendment to the Constitution was proposed by the Congress on
January 31, 1865. It was declared, in a proclamation of the Secretary of State,
dated December 18, 1865, to have been ratified by the legislatures of 27 of the 36
States. The dates of ratification were: Illinois, February 1, 1865; Rhode Island,
February 2, 1865; Michigan, February 2, 1865; Maryland, February 3, 1865;
New York, February 3, 1865; Pennsylvania, February 3, 1865: West Virginia,
February 3, 1865; Missouri, February 6, 1865; Maine, February 7, 1865; Kansas,
February 7, 1865; Massachusetts, February 7, 1865; Virginia, ‘February 9, 1865;
Ohio, February 10, 1865; Indiana, February 13, 1865; Nevada, February 16, 1865;
Louisiana, February 17, 1865; Minnesota, February 23, 1865; Wisconsin, Febru-
ary 24, 1865; Vermont, March 9, 1865; Tennessee, April 7, 1865; Arkansas,
April 14, 1865; Connecticut, May 4, 1865; New Hampshire, July 1, 1865; South
Carolina, November 13, 1865; Alabama, December 2, 1865; North Carolina,
December 4, 1865; Georgia, December 6, 1865.

Ratification was completed on December 6, 1865.

The amendment -was subsequently ratified by Oregon, December 8, 1865;
California, December 19, 1865; Florida, December 28, 1865 (Florida again
ratified on Junc 9, 1868, upon its adoption of a new constitution) ; Iowa, January
15, 1866; New Jersey, January 23, 1866 (after having rejected the amendment on
March 16, 1865); Texas, February 18, 1870; Delaware, February 12, 1901 (after
having rejected the amendment on February 8, 1865).

The amendment was rejected by Kentucky, February 24, 1865, and by Mis-
sissippi, December 4, 1865.
i

all be apportioned among the several
States according to their respective numbers, counting the whole num-
ber of persons in each State, excluding Indians not taxed. But when
the right to vote at any election for the choice of electors for President
and Vice President of the United States, Representatives in Congress,
the Executive and Judicial officers of a State, or the members of the
Legislature thereof, is denied to. any of the male inhabitants of such
State, being twenty-one years of age,* and citizens of the United
States, or in any way abridged, except for participation in rebellion, or
other crime, the basis of representation therein shall be reduced in the
proportion which the number of such male citizens shall bear to the
whole number of male citizens twenty-one years of age in such State.

Srection 3. No person shall be a Senator or Representative in Con-
gress, or elector of President and Vice President, or hold any office,
civil or military, under the United States, or under any State, who,
having previously taken an oath, as a member of Congress, or as an
officer of the United States, or as a member of any State legislature,
or as an executive or judicial officer of any State, to support the Con-
stitution of the United States, shall have engaged in insurrection or
rebellion against the same, or given aid or comfort to the enemies
thereof. But Congress may by a vote of two-thirds of each House,
remove such disability

*See, the twenty-sixth amendmont.

ARTICLE XIV coment

ee

CONSTITUTION

Section 4. The validity «
authorized by law, including
and bounties for services in s
not be questioned. But neit
assume or pay any debt or «
or rebellion against the Uni
emancipation of any slave; t
shal] be held illegal and void

Section 5. The Congress
priate legislation, the provis

The 14th amendment to the ¢€
June 13, 1866. It was declared,
July 28, 1868, to have been rati

he dates of ratification were:
July 6, 1866; Tennessee, July 19
sequently the legislature rescind:
adopted its resolution of rescissior
19, 1866 (and rescinded its ratific
30, 1866; Ohio, January 4, 1867
1868); New York, January 10, 18
15, 1867; West Virginia, January 1
January 16, 1867; Maine, Januar.
January 23, 1867; Missouri, Janu
Wisconsin, February 7, 1867; Pe
March 20, 1867; Nebraska, Jun
April 6, 1868; Florida, June 9, 1£§
rejected it on December 14, 1866)
it on February 6, 1867); South C:
December 20, 1866).

Ratification was completed on.

The amendment was subsequer
July 21, 1868 (after having rejects
1869 (after having rejected it on J
Texas, February 18, 1870 (after hz
February 12, 1901 (after having
April 4, 1959 (after having rejecte

Section 1. The right of ¢
not be denied or abridged b.
account of race, color, or pre

SEection 2. The Congress
by appropriate legislation.

The 15th amendment to the ¢
February 26, 1869. It was decla
dated March 30, 1870, to have kt
States. The dates of ratification
March 3, 1869: Illinois, March 5, }
March 5, 1869; Michigan, Mare
March 11, 1869; Massachusetts,
South Carolina, March 15, 186
April 14, 1869 (and the legislaturc
5, 1870, to withdraw its consent to
Indiana, May 14, 1869; Connec
New Hampshire, July 1, 1869; V
1869; Missouri, January 7, 1871
January 17, 1870; Rhode Island,
Ohio, January 27, 1870 (after hi
February 2, 1870; Iowa, February

| The certificate of the Secretary of State, ¢
of the rescission of ratification by Ohio and
resolution declaring the amendment a part ¢
tion of ratification without reservation.
